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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/887553610" data-vids="887553610" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt;Page 702&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;791 P.2d 702&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;b class="ldml-bold"&gt;
v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Douglas Burt FULLER&lt;/span&gt;, &lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;No. 89SA288&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;,
En Banc.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;May 21, 1990&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;
As Amended on Denial of Rehearing &lt;span class="ldml-date"&gt;July 9, 1990&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="237" class="ldml-paragraph no-indent mt-2"&gt;&lt;span class="ldml-pagenumber" data-val="704" data-rep="P.2d" data-id="pagenumber_237" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt; &lt;span data-paragraph-id="237" data-sentence-id="245" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Duane Woodard&lt;/span&gt;&lt;/span&gt;, Atty. Gen., &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Charles B. Howe&lt;/span&gt;&lt;/span&gt;, Chief Deputy Atty. Gen., &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Richard H. Forman&lt;/span&gt;&lt;/span&gt;, Sol.&lt;/span&gt; &lt;span data-paragraph-id="237" data-sentence-id="338" class="ldml-sentence"&gt;Gen., and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;John J. Krause&lt;/span&gt;&lt;/span&gt;, Asst. Atty. Gen., Denver, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;plaintiff&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;appellee&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="414" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="414" data-sentence-id="422" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;David Vela&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Kathleen A. Lord&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, Denver, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;defendant&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;appellant&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="542" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (ERICKSON)"&gt;&lt;span data-paragraph-id="542" data-sentence-id="550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;ERICKSON&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="603" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="603" data-sentence-id="611" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Douglas Burt Fuller&lt;/span&gt;, was convicted of aggravated robbery, &lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt; second degree kidnapping, &lt;sup class="ldml-superscript"&gt;2&lt;/sup&gt; and also, pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, of two violent crime sentence enhancement counts.&lt;/span&gt; &lt;span data-paragraph-id="603" data-sentence-id="823" class="ldml-sentence"&gt;Fuller was sentenced to consecutive sentences of twenty years on the aggravated robbery conviction and thirty years on the second degree kidnapping conviction.&lt;/span&gt; &lt;span data-paragraph-id="603" data-sentence-id="983" class="ldml-sentence"&gt;As a result of the robbery and kidnapping convictions, Fuller's deferred sentence on a prior conviction for theft by receiving &lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; was revoked and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was resentenced to a term in the custody of the &lt;span class="ldml-entity"&gt;Department of Corrections&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="603" data-sentence-id="1205" class="ldml-sentence"&gt;On appeal, &lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; Fuller claims that: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the mandatory consecutive sentencing provision of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1205"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violates his constitutional right to equal protection of the law, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; there was insufficient evidence to support his conviction of second degree kidnapping, &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred by denying his challenges for cause to two prospective jurors, &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; improperly denied his tendered instructions on eyewitness identification, &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in imposing sentence, and &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; providing for the defense of impaired mental condition violated his constitutional rights to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, his constitutional rights to due process of law, and his constitutional rights against self-incrimination.&lt;/span&gt; &lt;span data-paragraph-id="603" data-sentence-id="1967" class="ldml-sentence"&gt;Fuller also contends that his deferred sentence for theft by receiving must be reinstated since the deferred sentence was revoked on the basis of invalid convictions.&lt;/span&gt; &lt;span data-paragraph-id="603" data-sentence-id="2134" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; affirm in part, reverse in part, and remand with directions.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2198" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2198" data-sentence-id="2206" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;July 30, 1987&lt;/span&gt;, at approximately 2:00 a.m., a young man robbed a convenience store in Greeley.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="2303" class="ldml-sentence"&gt;In the course of the robbery, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; grabbed the store clerk, put a knife to her throat and demanded the contents of the store's cash register.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="2443" class="ldml-sentence"&gt;The clerk gave him the money from the register, which was approximately twenty dollars, and offered to give him the money from the store's safe and from her purse.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="2607" class="ldml-sentence"&gt;The robber refused, and with the knife still at the clerk's throat, took the clerk out the front door and toward the dark side of the building.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="2751" class="ldml-sentence"&gt;While the pair were still in front of the store, a car pulled into the store's parking lot and the clerk broke away from her captor.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="2884" class="ldml-sentence"&gt;After a brief confrontation with the driver of the car, the robber fled on a bicycle and the driver pursued him to a nearby trailer park.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="3022" class="ldml-sentence"&gt;Twenty minutes later, the police stopped Fuller while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was riding his bicycle out of the trailer park and detained him until the store clerk was brought to the scene.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="3191" class="ldml-sentence"&gt;The clerk identified Fuller as the man who robbed her and took her out of the store.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="3276" class="ldml-sentence"&gt;Fuller was searched.&lt;/span&gt; &lt;span data-paragraph-id="2198" data-sentence-id="3297" class="ldml-sentence"&gt;The search produced a knife and money, including a marked two dollar &lt;span class="ldml-entity"&gt;bill&lt;/span&gt; from the store's cash register.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3403" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3403" data-sentence-id="3411" class="ldml-sentence"&gt;Fuller was charged with aggravated robbery, second degree kidnapping and two sentence enhancement counts of violent crime, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3411"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3403" data-sentence-id="3553" class="ldml-sentence"&gt;Prior to arraignment, Fuller challenged the constitutionality of Colorado's statutory requirements for
&lt;span class="ldml-pagenumber" data-val="705" data-rep="P.2d" data-id="pagenumber_3658" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;
the defense of impaired mental condition.&lt;/span&gt; &lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="3403" data-sentence-id="3702" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; found the statutory provisions constitutional, Fuller did not assert the defense of impaired mental condition.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3835" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3835" data-sentence-id="3843" class="ldml-sentence"&gt;The jury found Fuller guilty of aggravated robbery, second degree kidnapping and two counts of crime of violence.&lt;/span&gt; &lt;span data-paragraph-id="3835" data-sentence-id="3957" class="ldml-sentence"&gt;Fuller was sentenced to the &lt;span class="ldml-entity"&gt;Department of Corrections&lt;/span&gt; for consecutive terms of thirty years on the kidnapping conviction and twenty years on the aggravated robbery conviction.&lt;/span&gt; &lt;span data-paragraph-id="3835" data-sentence-id="4133" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; revoked the deferred sentence on the theft by receiving conviction and resentenced Fuller to a term of six years to be served consecutively to the other sentences.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="I" data-id="heading_4326" data-format="upper_case_roman_numeral" data-value="I." data-ordinal_end="1" data-content-heading-label="I.
" id="heading_4326" data-ordinal_start="1" data-parsed="true"&gt;&lt;span data-paragraph-id="4326" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4326" data-sentence-id="4326" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="4329" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4329" data-sentence-id="4337" class="ldml-sentence"&gt;Fuller contends that the mandatory consecutive sentencing provision of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4337"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violates his constitutional right to equal protection of the law.&lt;/span&gt; &lt;span data-paragraph-id="4329" data-sentence-id="4492" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4492"&gt;&lt;span class="ldml-cite"&gt;Section 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides in part that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; person convicted of two separate crimes of violence arising out of the same incident shall be sentenced for such crimes so that sentences are served consecutively rather than concurrently."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4329" data-sentence-id="4733" class="ldml-sentence"&gt;Fuller contends that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4733"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violates equal protection of the law because it requires consecutive sentences for crimes of violence arising &lt;span class="ldml-quotation quote"&gt;"from the same incident"&lt;/span&gt; and not when &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; commits separate violent crimes in different incidents, in which case the sentencing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; may sentence &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to concurrent terms in its discretion.&lt;/span&gt; &lt;span data-paragraph-id="4329" data-sentence-id="5093" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888482445" data-vids="888482445" class="ldml-reference" data-prop-ids="sentence_4733"&gt;&lt;span class="ldml-refname"&gt;Brinklow v. Riveland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;773 P.2d 517, 520&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4329" data-sentence-id="5157" class="ldml-sentence"&gt;Fuller asserts that the legislative decision to punish &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; who commits crimes arising out of one incident more harshly than &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; who commits identical crimes, but in separate incidents, bears no reasonable relationship to any legitimate governmental interest.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5432" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5432" data-sentence-id="5440" class="ldml-sentence"&gt;Equal protection of the law requires like treatment of all those who are similarly situated.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="5533" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;E.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887202075" data-vids="887202075" class="ldml-reference" data-prop-ids="sentence_5440"&gt;&lt;span class="ldml-refname"&gt;People v. Calvaresi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;188 Colo. 277, 281&lt;/span&gt;, &lt;span class="ldml-cite"&gt;534 P.2d 316, 318&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="5606" class="ldml-sentence"&gt;Statutory classification of crimes must be based on substantial differences that are based on fact and reasonably related to the purposes of &lt;span class="ldml-entity"&gt;the legislation&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="5764" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887202075" data-vids="887202075" class="ldml-reference" data-prop-ids="sentence_5606"&gt;&lt;span class="ldml-cite"&gt;Id. at 281-82&lt;/span&gt;, &lt;span class="ldml-cite"&gt;534 P.2d at 318&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="5796" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Statutes&lt;/span&gt; that call for different penalties for the same conduct violate &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s right to equal protection of the law.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="5920" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887003324" data-vids="887003324" class="ldml-reference" data-prop-ids="sentence_5796"&gt;&lt;span class="ldml-refname"&gt;People v. Young&lt;/span&gt;, &lt;span class="ldml-cite"&gt;758 P.2d 667, 669&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887202075" data-vids="887202075" class="ldml-reference" data-prop-ids="sentence_5796"&gt;&lt;span class="ldml-refname"&gt;People v. Calvaresi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;188 Colo. at 282&lt;/span&gt;, &lt;span class="ldml-cite"&gt;534 P.2d at 318&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="6024" class="ldml-sentence"&gt;However, &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he General Assembly &lt;span class="ldml-parenthetical"&gt;[is]&lt;/span&gt; free to prescribe different punishments for conduct it may have rationally perceived to have different degrees of social reprehensibility.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="6206" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895729245" data-vids="895729245" class="ldml-reference" data-prop-ids="sentence_6024"&gt;&lt;span class="ldml-refname"&gt;People v. Thatcher&lt;/span&gt;, &lt;span class="ldml-cite"&gt;638 P.2d 760, 766&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893173033" data-vids="893173033" class="ldml-reference" data-prop-ids="sentence_6024"&gt;&lt;span class="ldml-refname"&gt;People v. Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;195 Colo. 350&lt;/span&gt;, &lt;span class="ldml-cite"&gt;578 P.2d 226&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="6321" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; is presumed to be constitutional and a person challenging &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; has the burden of proving that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; is unconstitutional beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="5432" data-sentence-id="6501" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;E.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888821732" data-vids="888821732" class="ldml-reference" data-prop-ids="sentence_6321"&gt;&lt;span class="ldml-refname"&gt;People v. French&lt;/span&gt;, &lt;span class="ldml-cite"&gt;762 P.2d 1369, 1372&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6558" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6558" data-sentence-id="6566" class="ldml-sentence"&gt;The General Assembly could have rationally decided that violent crimes committed as part of the same incident pose a greater threat to society than the same criminal conduct committed separately in different violent criminal episodes.&lt;/span&gt; &lt;span data-paragraph-id="6558" data-sentence-id="6801" class="ldml-sentence"&gt;In our view, the differing punishments have a reasonable relationship to the prevention of crime, which is a legitimate governmental purpose.&lt;/span&gt; &lt;span data-paragraph-id="6558" data-sentence-id="6943" class="ldml-sentence"&gt;Since the classification is based on a rational distinction and is reasonably related to prevention of crime, the consecutive sentencing provision of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6943"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not violate the constitutional requirements of equal protection of the law.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="II" data-id="heading_7198" data-format="upper_case_roman_numeral" data-value="II." data-ordinal_end="2" data-content-heading-label="II.
" id="heading_7198" data-ordinal_start="2" data-parsed="true"&gt;&lt;span data-paragraph-id="7198" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7198" data-sentence-id="7198" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7202" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7202" data-sentence-id="7210" class="ldml-sentence"&gt;Fuller asserts that the record does not support his conviction of second degree kidnapping since there was no evidence presented at trial that established that the store clerk was subjected to a greater risk
&lt;span class="ldml-pagenumber" data-val="706" data-rep="P.2d" data-id="pagenumber_7420" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;
of harm when Fuller forced her out of the store at knifepoint.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7484" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7484" data-sentence-id="7492" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 18-3-302&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, 8B C.R.S. &lt;span class="ldml-parenthetical"&gt;(1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;ny person who knowingly seizes and carries any person from one place to another, without his consent and without lawful justification, commits second degree kidnapping."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7484" data-sentence-id="7720" class="ldml-sentence"&gt;The jury in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; was given an instruction on second degree kidnapping that tracked the language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7484" data-sentence-id="7837" class="ldml-sentence"&gt;To satisfy the elements of second degree kidnapping, substantial movement of the victim is not required.&lt;/span&gt; &lt;span data-paragraph-id="7484" data-sentence-id="7942" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; must establish that the victim was moved and that the movement substantially increased the risk of harm to the victim.&lt;/span&gt; &lt;span data-paragraph-id="7484" data-sentence-id="8077" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888184317" data-vids="888184317" class="ldml-reference" data-prop-ids="sentence_7942"&gt;&lt;span class="ldml-refname"&gt;Apodaca v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;712 P.2d 467, 475&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7484" data-sentence-id="8127" class="ldml-sentence"&gt;Fuller argues that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; failed to establish the asportation element of second degree kidnapping since his conduct in taking the clerk out of the store did not expose the clerk to a substantially greater risk of harm.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8355" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8355" data-sentence-id="8363" class="ldml-sentence"&gt;On appellate review, a conviction based on a jury verdict must be upheld if there is substantial evidence in the record, viewed in the light most favorable to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, that supports the verdict.&lt;/span&gt; &lt;span data-paragraph-id="8355" data-sentence-id="8566" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895469250" data-vids="895469250" class="ldml-reference" data-prop-ids="sentence_8363"&gt;&lt;span class="ldml-refname"&gt;People v. Schoondermark&lt;/span&gt;, &lt;span class="ldml-cite"&gt;699 P.2d 411, 414&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8355" data-sentence-id="8622" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; will not set aside a conviction for lack of evidence because a conclusion different from that reached by the jury might be reached on the same evidence.&lt;/span&gt; &lt;span data-paragraph-id="8355" data-sentence-id="8778" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888796814" data-vids="888796814" class="ldml-reference" data-prop-ids="sentence_8622"&gt;&lt;span class="ldml-refname"&gt;People v. Rosenberg&lt;/span&gt;, &lt;span class="ldml-cite"&gt;194 Colo. 423, 427&lt;/span&gt;, &lt;span class="ldml-cite"&gt;572 P.2d 1211, 1214&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8355" data-sentence-id="8847" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; in &lt;span class="ldml-entity"&gt;this case presented&lt;/span&gt; evidence that the store clerk was taken from the store by Fuller at night and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was being taken to the dark side of the building.&lt;/span&gt; &lt;span data-paragraph-id="8355" data-sentence-id="9023" class="ldml-sentence"&gt;From the evidence, the jury could have fairly concluded that the clerk was placed at a substantially greater risk of harm.&lt;/span&gt; &lt;span data-paragraph-id="8355" data-sentence-id="9146" class="ldml-sentence"&gt;The evidence, viewed in the light most favorable to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, supports Fuller's conviction of second degree kidnapping.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="III" data-id="heading_9273" data-format="upper_case_roman_numeral" data-value="III." data-ordinal_end="3" data-content-heading-label="III.
" id="heading_9273" data-ordinal_start="3" data-parsed="true"&gt;&lt;span data-paragraph-id="9273" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9273" data-sentence-id="9273" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="9278" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9278" data-sentence-id="9286" class="ldml-sentence"&gt;In attacking his aggravated robbery and second degree kidnapping convictions, Fuller argues that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred by denying his challenges for cause to two prospective jurors.&lt;/span&gt; &lt;span data-paragraph-id="9278" data-sentence-id="9468" class="ldml-sentence"&gt;During voir dire, one prospective juror stated that, because of her job in a laundromat where at times &lt;span class="ldml-entity"&gt;she&lt;/span&gt; feared for her safety, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; sympathized with the victim in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could not promise that this sympathy would not affect her decision.&lt;/span&gt; &lt;span data-paragraph-id="9278" data-sentence-id="9724" class="ldml-sentence"&gt;Upon subsequent questioning by the trial judge, however, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; said that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would decide &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; on the merits and would not let her sympathy for the victim influence her decision.&lt;/span&gt; &lt;span data-paragraph-id="9278" data-sentence-id="9905" class="ldml-sentence"&gt;After his challenge for cause was denied, Fuller exercised one of his peremptory challenges to exclude that prospective juror.&lt;/span&gt; &lt;span data-paragraph-id="9278" data-sentence-id="10032" class="ldml-sentence"&gt;Another prospective juror stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had been a victim of vandalism and theft and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed that persons accused of crimes were accorded too much protection.&lt;/span&gt; &lt;span data-paragraph-id="9278" data-sentence-id="10201" class="ldml-sentence"&gt;On further voir dire by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, that juror stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed an accused was innocent until proven guilty and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would decide &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; on the evidence presented at trial.&lt;/span&gt; &lt;span data-paragraph-id="9278" data-sentence-id="10385" class="ldml-sentence"&gt;Fuller requested that the second prospective juror be excused for cause and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; denied the challenge.&lt;/span&gt; &lt;span data-paragraph-id="9278" data-sentence-id="10499" class="ldml-sentence"&gt;Fuller did not have a peremptory challenge available to exclude the second prospective juror and that juror sat as a member of the jury.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10636" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10636" data-sentence-id="10644" class="ldml-sentence"&gt;The test for determining whether a prospective juror should be disqualified for bias is whether that person will render a fair and impartial verdict according to the law and the evidence presented at trial.&lt;/span&gt; &lt;span data-paragraph-id="10636" data-sentence-id="10851" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895064975" data-vids="895064975" class="ldml-reference" data-prop-ids="sentence_10644"&gt;&lt;span class="ldml-refname"&gt;People v. Drake&lt;/span&gt;, &lt;span class="ldml-cite"&gt;748 P.2d 1237, 1243&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10644"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-103&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(j)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10636" data-sentence-id="10947" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; is given broad discretion in ruling on challenges for cause and its decision will not be overturned unless a clear abuse of discretion appears in the record.&lt;/span&gt; &lt;span data-paragraph-id="10636" data-sentence-id="11121" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895064975" data-vids="895064975" class="ldml-reference" data-prop-ids="sentence_10947"&gt;&lt;span class="ldml-refname"&gt;People v. Drake&lt;/span&gt;, &lt;span class="ldml-cite"&gt;748 P.2d at 1243&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10636" data-sentence-id="11156" class="ldml-sentence"&gt;In deciding the question of bias, the credibility and appearance of veniremen are best observed by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10636" data-sentence-id="11272" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894481026" data-vids="894481026" class="ldml-reference" data-prop-ids="sentence_11156"&gt;&lt;span class="ldml-refname"&gt;Nailor v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;200 Colo. 30, 32&lt;/span&gt;, &lt;span class="ldml-cite"&gt;612 P.2d 79, 80&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11332" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11332" data-sentence-id="11340" class="ldml-sentence"&gt;The two prospective jurors who were challenged for cause may have displayed preconceived opinions about crime in general.&lt;/span&gt; &lt;span data-paragraph-id="11332" data-sentence-id="11462" class="ldml-sentence"&gt;However, both prospective jurors stated that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would decide &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; based on
&lt;span class="ldml-pagenumber" data-val="707" data-rep="P.2d" data-id="pagenumber_11545" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;
the evidence submitted at trial and on the law based on the instructions given by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11332" data-sentence-id="11639" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886936301" data-vids="886936301" class="ldml-reference" data-prop-ids="embeddedsentence_11691,sentence_11462"&gt;&lt;span class="ldml-refname"&gt;People v. Russo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;713 P.2d 356, 362&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;t is &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s prerogative to give considerable weight to the juror's assurance that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; can fairly and impartially serve on &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11332" data-sentence-id="11840" class="ldml-sentence"&gt;The denial of the challenges for cause in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; was not an abuse of discretion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="IV" data-id="heading_11924" data-format="upper_case_roman_numeral" data-value="IV." data-ordinal_end="4" data-content-heading-label="IV.
" id="heading_11924" data-ordinal_start="4" data-parsed="true"&gt;&lt;span data-paragraph-id="11924" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11924" data-sentence-id="11924" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11928" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11928" data-sentence-id="11936" class="ldml-sentence"&gt;Fuller contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred by refusing to submit to the jury any one of the three instructions on eyewitness identification that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; tendered to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11928" data-sentence-id="12113" class="ldml-sentence"&gt;In doing so, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; urges &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to overrule a line of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; in which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have held that, when &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s theory of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; was mistaken identity, a jury need not be instructed on the credibility of eyewitness identification where an instruction is given on the credibility of witnesses in general.&lt;/span&gt; &lt;span data-paragraph-id="11928" data-sentence-id="12409" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889450958" data-vids="889450958" class="ldml-reference" data-prop-ids="sentence_12113"&gt;&lt;span class="ldml-refname"&gt;People v. Vigil&lt;/span&gt;, &lt;span class="ldml-cite"&gt;718 P.2d 496, 503&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11928" data-sentence-id="12461" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; properly instructed the jury on the credibility of witnesses and Fuller's claim is without merit.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="V" data-id="heading_12581" data-format="upper_case_roman_numeral" data-value="V." data-ordinal_end="5" data-content-heading-label="V.
" id="heading_12581" data-ordinal_start="5" data-parsed="true"&gt;&lt;span data-paragraph-id="12581" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12581" data-sentence-id="12581" class="ldml-sentence"&gt;V.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12584" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12584" data-sentence-id="12592" class="ldml-sentence"&gt;Fuller claims that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion by sentencing him to consecutive terms of thirty years on his second degree kidnapping conviction, twenty years on his aggravated robbery conviction, and six years on his conviction for theft by receiving.&lt;/span&gt; &lt;span data-paragraph-id="12584" data-sentence-id="12855" class="ldml-sentence"&gt;In particular, Fuller claims &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; placed excessive emphasis on the seriousness of the crimes and failed to take into account his rehabilitative potential.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13021" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13029" class="ldml-sentence"&gt;Second degree kidnapping is a class 2 felony if the person kidnapped is a victim of a robbery.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13124" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13029"&gt;&lt;span class="ldml-cite"&gt;Section 18-3-302&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13145" class="ldml-sentence"&gt;The presumptive range for a sentence on a conviction for a class 2 felony is from eight to twenty-four years.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13255" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13145"&gt;&lt;span class="ldml-cite"&gt;Section 18-1-105&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13301" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the violent crime sentencing &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; in effect at the time Fuller was sentenced, &lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; requires a sentence for a class 2 felony in the aggravated range of twenty-four to forty-eight years.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13525" class="ldml-sentence"&gt;Aggravated robbery is a class 3 felony, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13525"&gt;&lt;span class="ldml-cite"&gt;section 18-4-302&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, with a presumptive sentence range of four to sixteen years.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13646" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13525"&gt;&lt;span class="ldml-cite"&gt;Section 18-1-105&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13674" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13674"&gt;&lt;span class="ldml-cite"&gt;Section 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; calls for a sentence on a class 3 felony conviction in the aggravated range of sixteen to thirty-two years.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13803" class="ldml-sentence"&gt;Theft by receiving is a class 4 felony if the value of the property involved is greater that three hundred dollars but less than ten thousand dollars.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13954" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13803"&gt;&lt;span class="ldml-cite"&gt;Section 18-4-410&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13021" data-sentence-id="13975" class="ldml-sentence"&gt;A sentence on a conviction of a class 4 felony has a presumptive range of two to eight years.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14069" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14069" data-sentence-id="14077" class="ldml-sentence"&gt;The sentences on Fuller's convictions for second degree kidnapping and aggravated robbery were within the aggravated sentencing ranges required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14077"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14069" data-sentence-id="14243" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; was required to impose consecutive sentences in the aggravated range on Fuller's second degree kidnapping and aggravated robbery convictions.&lt;/span&gt; &lt;span data-paragraph-id="14069" data-sentence-id="14401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14243"&gt;&lt;span class="ldml-cite"&gt;Section 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14069" data-sentence-id="14426" class="ldml-sentence"&gt;The sentences imposed were in the lower end of the aggravated range and were consistent with the recommendations contained in Fuller's presentence report.&lt;/span&gt; &lt;span data-paragraph-id="14069" data-sentence-id="14581" class="ldml-sentence"&gt;In sentencing Fuller, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; considered the seriousness of the crimes, the deterrent effect on the community, the safety of the community, and the fact that Fuller was on a deferred sentence at the time of the commission of the robbery and kidnapping.&lt;/span&gt; &lt;span data-paragraph-id="14069" data-sentence-id="14842" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; stated:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14866" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14866" data-sentence-id="14874" class="ldml-sentence"&gt;The crimes of which &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt; was convicted are serious.&lt;/span&gt; &lt;span data-paragraph-id="14866" data-sentence-id="14935" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; was leading the victim away from the scene of the robbery into a dark and relatively secluded area.&lt;/span&gt; &lt;span data-paragraph-id="14866" data-sentence-id="15049" class="ldml-sentence"&gt;Had third &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; not intervened, the customers who drove up offering the opportunity for the victim to escape, one can only speculate as to what harm might have come to the victim.&lt;/span&gt; &lt;span data-paragraph-id="14866" data-sentence-id="15231" class="ldml-sentence"&gt;Whether the fact that harm didn't come to the victim because of the
&lt;span class="ldml-pagenumber" data-val="708" data-rep="P.2d" data-id="pagenumber_15301" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;
intervention and the fact the victim was able at that point to escape doesn't mean that these aren't serious crimes and that this is something that can be easily passed by.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15475" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15475" data-sentence-id="15483" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;People&lt;/span&gt; should not be placed in fear for their personal safety or for their life.&lt;/span&gt; &lt;span data-paragraph-id="15475" data-sentence-id="15564" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; shouldn't be terrorized by someone with a knife.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15618" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15618" data-sentence-id="15626" class="ldml-sentence"&gt;As the district attorney points out, it is important to send a message to the community that armed robbery and kidnapping are not things that will be tolerated.&lt;/span&gt; &lt;span data-paragraph-id="15618" data-sentence-id="15787" class="ldml-sentence"&gt;At least for the time &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s in custody the community is safe at least from his conduct.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15885" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15885" data-sentence-id="15893" class="ldml-sentence"&gt;With regard to Fuller's potential for rehabilitation, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; stated:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15971" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15971" data-sentence-id="15979" class="ldml-sentence"&gt;Whether or not &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt; might be subject to rehabilitation, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;'s not willing to subject the community to the risk of having &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt; out and wandering around with the potential for committing these kind of crimes at any time in the near future.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16241" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16241" data-sentence-id="16249" class="ldml-sentence"&gt;On appellate review of a sentence, the decision of the sentencing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; must be accorded deference because of the trial judge's familiarity with &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="16425" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313595" data-vids="895313595" class="ldml-reference" data-prop-ids="sentence_16249"&gt;&lt;span class="ldml-refname"&gt;People v. Watkins&lt;/span&gt;, &lt;span class="ldml-cite"&gt;684 P.2d 234, 239&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="16475" class="ldml-sentence"&gt;A trial judge has broad discretion when imposing a sentence, and the sentence imposed will not be overturned in the absence of a clear abuse of discretion.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="16631" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313595" data-vids="895313595" class="ldml-reference" data-prop-ids="sentence_16475"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="16635" class="ldml-sentence"&gt;In exercising sentencing discretion, &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; must consider the nature of the offense, the character and rehabilitative potential of the offender, the development of respect for the law and the deterrence of crime, and the protection of the public.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="16889" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;E.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888307943" data-vids="888307943" class="ldml-reference" data-prop-ids="sentence_16635"&gt;&lt;span class="ldml-refname"&gt;People v. Bruebaker&lt;/span&gt;, &lt;span class="ldml-cite"&gt;189 Colo. 219, 221&lt;/span&gt;, &lt;span class="ldml-cite"&gt;539 P.2d 1277, 1279&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16635"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-102.5, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="17005" class="ldml-sentence"&gt;The sentencing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; must &lt;span class="ldml-quotation quote"&gt;"state on the record the basic reasons for imposing the sentence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="17098" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895717435" data-vids="895717435" class="ldml-reference" data-prop-ids="sentence_17005"&gt;&lt;span class="ldml-refname"&gt;People v. Watkins&lt;/span&gt;, &lt;span class="ldml-cite"&gt;200 Colo. 163, 168&lt;/span&gt;, &lt;span class="ldml-cite"&gt;613 P.2d 633, 637&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="17163" class="ldml-sentence"&gt;If the sentence is within the range required by law, is based on appropriate considerations as reflected in the record, and is factually supported by &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; must uphold the sentence.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="17389" class="ldml-sentence"&gt;Only in exceptional &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; will &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; substitute its judgment for that of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; in sentencing matters.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="17514" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889450958" data-vids="889450958" class="ldml-reference" data-prop-ids="sentence_17389"&gt;&lt;span class="ldml-refname"&gt;People v. Vigil&lt;/span&gt;, &lt;span class="ldml-cite"&gt;718 P.2d 496, 507&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="17562" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17562"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; mandated consecutive sentences in the aggravated range.&lt;/span&gt; &lt;span data-paragraph-id="16241" data-sentence-id="17650" class="ldml-sentence"&gt;In light of the fact that Fuller was on a deferred felony sentence at the time of the commission of the robbery and kidnapping, and considering the nature of the crimes, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion in imposing consecutive sentences for aggravated robbery and second degree kidnapping.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17952" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17952" data-sentence-id="17960" class="ldml-sentence"&gt;Fuller also maintains that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred by failing to set forth reasons for the six year sentence imposed for the theft by receiving conviction and claims an abuse of discretion in requiring that sentence be served consecutively to his other sentences.&lt;/span&gt; &lt;span data-paragraph-id="17952" data-sentence-id="18222" class="ldml-sentence"&gt;The record shows that, during the sentencing hearing, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not separately address the reasons underlying the sentence imposed on the theft by receiving conviction.&lt;/span&gt; &lt;span data-paragraph-id="17952" data-sentence-id="18401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s reasoning&lt;/span&gt;, as shown in the record, relates to the sentences imposed on the aggravated robbery and second degree kidnapping convictions.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18555" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18555" data-sentence-id="18563" class="ldml-sentence"&gt;The six-year sentence imposed on the theft by receiving conviction was within the presumptive range for a class 4 felony.&lt;/span&gt; &lt;span data-paragraph-id="18555" data-sentence-id="18685" class="ldml-sentence"&gt;However, no reasons for imposing the six year sentence consecutively to the other sentences appear in the record.&lt;/span&gt; &lt;span data-paragraph-id="18555" data-sentence-id="18799" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; erred by failing to set forth the basic reasons for the imposition of the sentence on the theft by receiving conviction.&lt;/span&gt; &lt;span data-paragraph-id="18555" data-sentence-id="18936" class="ldml-sentence"&gt;Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 18-1-409&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; order that the six year sentence imposed on Fuller's conviction for theft by receiving be served concurrently with the sentences imposed on his convictions for aggravated robbery and second degree kidnapping.&lt;/span&gt; &lt;span data-paragraph-id="18555" data-sentence-id="19199" class="ldml-sentence"&gt;Accordingly &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remand with instructions to amend the mittimus to cause the six year sentence for theft by receiving to be served concurrently with the sentences for aggravated robbery and second degree kidnapping.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="709" data-rep="P.2d" data-id="pagenumber_19413" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="VI" data-id="heading_19413" data-format="upper_case_roman_numeral" data-value="VI." data-ordinal_end="6" data-content-heading-label="VI.
" id="heading_19413" data-ordinal_start="6" data-parsed="true"&gt;&lt;span data-paragraph-id="19413" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19413" data-sentence-id="19413" class="ldml-sentence"&gt;VI.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="19417" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19417" data-sentence-id="19425" class="ldml-sentence"&gt;Finally, Fuller claims that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; governing the assertion of the defense of impaired mental condition is unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="19417" data-sentence-id="19554" class="ldml-sentence"&gt;In particular, Fuller claims that the disclosure requirements of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, violated his right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; because his attorney was uncertain as to whether statements made by Fuller during the course of a pre-arraignment examination would be privileged.&lt;/span&gt; &lt;a href="#note-fr7" class="ldml-noteanchor" id="note-ref-fr7"&gt;7&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="19417" data-sentence-id="19866" class="ldml-sentence"&gt;Fuller maintains that this uncertainty, compounded by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to rule on the issue, so &lt;span class="ldml-quotation quote"&gt;"chilled"&lt;/span&gt; his attorney's investigation into the existence of a defense of impaired mental condition in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; that his constitutional right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was violated.&lt;/span&gt; &lt;span data-paragraph-id="19417" data-sentence-id="20163" class="ldml-sentence"&gt;Additionally, Fuller contends that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-8-106&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, imposed a burden on his constitutional privilege against self-incrimination because it allows &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s noncooperation during the course of &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;-ordered examination to be admissible in &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s trial on the issue of impaired mental condition.&lt;/span&gt; &lt;a href="#note-fr8" class="ldml-noteanchor" id="note-ref-fr8"&gt;8&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="20495" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20495" data-sentence-id="20503" class="ldml-sentence"&gt;Fuller did not raise the defense of impaired mental condition subsequent to the denial of his challenge of the constitutionality of the impaired mental condition &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="20674" class="ldml-sentence"&gt;Fuller does not have standing on appeal to attack the constitutionality of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20674"&gt;&lt;span class="ldml-cite"&gt;sections 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and -106.&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="20779" class="ldml-sentence"&gt;A person challenging the constitutionality of state action must show actual injury to a legally protected interest.&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="20895" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888821732" data-vids="888821732" class="ldml-reference" data-prop-ids="sentence_20779"&gt;&lt;span class="ldml-refname"&gt;People v. French&lt;/span&gt;, &lt;span class="ldml-cite"&gt;762 P.2d at 1372&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thestateboardforcommunitycollegesandoccupationaleducationvolsonno82sc271687p2d429,20edlawrep300aug20,1984" data-prop-ids="sentence_20779"&gt;&lt;span class="ldml-refname"&gt;State Bd. of Community Colleges &amp; Occupational Educ. v. Olson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;687 P.2d 429, 434&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="21025" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, Fuller did not assert the impaired mental condition defense at his arraignment or thereafter.&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="21133" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21025"&gt;&lt;span class="ldml-cite"&gt;§ 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="21151" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"It is not our function to &lt;span class="ldml-quotation quote"&gt;'overturn &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; presumptively valid on the strength of the speculations and conjectures of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; as to what might happen under them.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="21319" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891344414" data-vids="891344414" class="ldml-reference" data-prop-ids="sentence_21151"&gt;&lt;span class="ldml-refname"&gt;People v. Mason&lt;/span&gt;, &lt;span class="ldml-cite"&gt;642 P.2d 8, 12&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:baylymanufacturingcompanyvthedepartmentofemploymentofthestateofcolorado,frankbvanportflietno20570395p2d216,155colo433sept14,1964" data-prop-ids="sentence_21151"&gt;&lt;span class="ldml-refname"&gt;Bayly Mfg. Co. v. Department of Employment&lt;/span&gt;, &lt;span class="ldml-cite"&gt;155 Colo. 433&lt;/span&gt;, &lt;span class="ldml-cite"&gt;395 P.2d 216&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1964&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20495" data-sentence-id="21453" class="ldml-sentence"&gt;Fuller did not suffer actual injury from the statutory provisions of which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; complains.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21542" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21542" data-sentence-id="21550" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm in part, reverse in part, and remand with directions to amend the mittimus to cause the sentence for theft by receiving to run concurrently and not consecutively with the sentences for robbery and kidnapping.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="21782" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (LOHR, QUINN, KIRSHBAUM)"&gt;&lt;span data-paragraph-id="21782" data-sentence-id="21790" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;LOHR&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;dissenting&lt;/span&gt;&lt;/span&gt;:&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21815" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21815" data-sentence-id="21823" class="ldml-sentence"&gt;The majority holds that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; lacks standing to challenge the constitutionality of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; governing waiver of confidentiality or privilege incident to the assertion of the impaired mental condition defense.&lt;/span&gt; &lt;span data-paragraph-id="21815" data-sentence-id="22088" class="ldml-sentence"&gt;I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22112" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22112" data-sentence-id="22120" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; argues that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;'s waiver provision prevented his attorney from investigating an impaired mental condition defense.&lt;/span&gt; &lt;span data-paragraph-id="22112" data-sentence-id="22257" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; asserts that his attorney was unwilling to investigate this defense because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; feared that the results of any psychological examination would not remain confidential.&lt;/span&gt; &lt;span data-paragraph-id="22112" data-sentence-id="22427" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; contends that as a result, his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22427"&gt;&lt;span class="ldml-cite"&gt;sixth amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was violated.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="710" data-rep="P.2d" data-id="pagenumber_22543" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22543" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22543" data-sentence-id="22551" class="ldml-sentence"&gt;Rather than reach the substance of this claim, the majority holds that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; lacks standing.&lt;/span&gt; &lt;span data-paragraph-id="22543" data-sentence-id="22652" class="ldml-sentence"&gt;The majority reasons that because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not assert the impaired mental condition defense, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not have suffered actual injury from its alleged constitutional deficiencies.&lt;/span&gt; &lt;span data-paragraph-id="22543" data-sentence-id="22841" class="ldml-sentence"&gt;This reasoning ignores the substance of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s challenge, which is that the constitutional deficiencies of this defense prevent interested &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; from raising it.&lt;/span&gt; &lt;span data-paragraph-id="22543" data-sentence-id="23017" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; need not risk compromising his defense in order to challenge the constitutionality of &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22543" data-sentence-id="23126" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894115713" data-vids="894115713" class="ldml-reference" data-prop-ids="sentence_23017"&gt;&lt;span class="ldml-refname"&gt;Doe v. Dunbar&lt;/span&gt;, &lt;span class="ldml-cite"&gt;320 F.Supp. 1297, 1300&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1970&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23183" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23183" data-sentence-id="23191" class="ldml-sentence"&gt;To have standing, a person must show &lt;span class="ldml-quotation quote"&gt;"injury in fact to a legally protected interest."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23183" data-sentence-id="23278" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888821732" data-vids="888821732" class="ldml-reference" data-prop-ids="sentence_23191"&gt;&lt;span class="ldml-refname"&gt;People v. French&lt;/span&gt;, &lt;span class="ldml-cite"&gt;762 P.2d 1369, 1372&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23183" data-sentence-id="23329" class="ldml-sentence"&gt;A litigant has standing to challenge &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; when the alleged constitutional defect adversely affects the litigant.&lt;/span&gt; &lt;span data-paragraph-id="23183" data-sentence-id="23447" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886629526" data-vids="886629526" class="ldml-reference" data-prop-ids="sentence_23329"&gt;&lt;span class="ldml-refname"&gt;People v. Brown&lt;/span&gt;, &lt;span class="ldml-cite"&gt;632 P.2d 1025, 1026&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888613773" data-vids="888613773" class="ldml-reference" data-prop-ids="sentence_23329"&gt;&lt;span class="ldml-refname"&gt;People v. Tumbarello&lt;/span&gt;, &lt;span class="ldml-cite"&gt;623 P.2d 46, 48&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23183" data-sentence-id="23548" class="ldml-sentence"&gt;In evaluating an individual's standing, all of that person's averments of material fact must be assumed to be true.&lt;/span&gt; &lt;span data-paragraph-id="23183" data-sentence-id="23664" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893449416" data-vids="893449416" class="ldml-reference" data-prop-ids="sentence_23548"&gt;&lt;span class="ldml-refname"&gt;Colorado General Assembly v. Lamm&lt;/span&gt;, &lt;span class="ldml-cite"&gt;700 P.2d 508, 516&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:friendsofchambermusicvcityandcountyofdenverno83sa185696p2d309feb25,1985" data-prop-ids="sentence_23548"&gt;&lt;span class="ldml-refname"&gt;Friends of Chamber Music v. City and County of Denver&lt;/span&gt;, &lt;span class="ldml-cite"&gt;696 P.2d 309, 315&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23816" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23816" data-sentence-id="23824" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; asserts an actual injury.&lt;/span&gt; &lt;span data-paragraph-id="23816" data-sentence-id="23878" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; contends that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was convicted through a procedure that denied his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23878"&gt;&lt;span class="ldml-cite"&gt;sixth amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23816" data-sentence-id="24006" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24006"&gt;&lt;span class="ldml-cite"&gt;sixth amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right was violated in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is a substantive question.&lt;/span&gt; &lt;span data-paragraph-id="23816" data-sentence-id="24105" class="ldml-sentence"&gt;By asserting the violation, however, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; has established standing.&lt;/span&gt; &lt;span data-paragraph-id="23816" data-sentence-id="24182" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt; Having determined that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; has standing to raise his constitutional challenge, I would then reach the merits.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24305" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24305" data-sentence-id="24313" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; contends that his attorney refrained from investigating whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; suffered from an impaired mental condition because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not sure, given &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24313"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that a psychological examination would remain confidential.&lt;/span&gt; &lt;span data-paragraph-id="24305" data-sentence-id="24559" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; contends that as a result, his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24559"&gt;&lt;span class="ldml-cite"&gt;sixth amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was violated.&lt;/span&gt; &lt;span data-paragraph-id="24305" data-sentence-id="24675" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; contends that under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24675"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; only waives a claim to confidentiality of the examination to be ordered by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.5&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24305" data-sentence-id="24889" class="ldml-sentence"&gt;As far as other examinations are concerned, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; contends that only the names, addresses and reports of these other examiners need be disclosed.&lt;/span&gt; &lt;span data-paragraph-id="24305" data-sentence-id="25045" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; concludes, therefore, that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; does not violate &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25141" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25141" data-sentence-id="25149" class="ldml-sentence"&gt;In evaluating these contentions, I would first interpret &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25149"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25141" data-sentence-id="25226" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 16-8-103.6, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provides in pertinent part that:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25304" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25304" data-sentence-id="25304" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; who places his mental condition at issue by ... asserting the affirmative defense of impaired mental condition pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25304"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ... waives any claim of confidentiality or privilege as to communications made by him to a physician or psychologist in the course of an examination or treatment for such mental condition for the purpose of any trial or hearing on the issue of such mental condition.&lt;/span&gt; &lt;span data-paragraph-id="25304" data-sentence-id="25727" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; shall order both &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to exchange the names, addresses, reports, and statements of any physician
&lt;span class="ldml-pagenumber" data-val="711" data-rep="P.2d" data-id="pagenumber_25864" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;
or psychologist who has examined or treated &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; for such mental condition.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25950" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25950" data-sentence-id="25958" class="ldml-sentence"&gt;In interpreting &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;, our primary task is to determine and effectuate &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s intent.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26058" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kanevtownofestesparkno87sa408786p2d412feb5,1990" data-prop-ids="sentence_25958"&gt;&lt;span class="ldml-refname"&gt;Kane v. Town of Estes Park&lt;/span&gt;, &lt;span class="ldml-cite"&gt;786 P.2d 412, 415&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26117" class="ldml-sentence"&gt;In doing so, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; look first to the statutory language.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893369516" data-vids="893369516" class="ldml-reference" data-prop-ids="sentence_26117"&gt;&lt;span class="ldml-refname"&gt;People v. Morgan&lt;/span&gt;, &lt;span class="ldml-cite"&gt;785 P.2d 1294, 1297&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26222" class="ldml-sentence"&gt;The language of &lt;span class="ldml-entity"&gt;this section&lt;/span&gt; seems to imply a waiver of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s claim to confidentiality regarding any physician or psychologist consultation in preparation for trial.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26398" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; should also look to the entire &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt;, however, to interpret this provision in a way that harmonizes it with the other elements of the relevant &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26565" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891383816" data-vids="891383816" class="ldml-reference" data-prop-ids="sentence_26398"&gt;&lt;span class="ldml-refname"&gt;People v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;713 P.2d 918, 921&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26622" class="ldml-sentence"&gt;Several other provisions are relevant.&lt;/span&gt; &lt;span data-paragraph-id="25950" data-sentence-id="26661" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 16-8-103.5, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1986 &amp; 1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26722" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26722" data-sentence-id="26722" class="ldml-sentence"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt; If &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; intends to assert the affirmative defense of impaired mental condition, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; shall indicate that intention to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; and to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; at the time of arraignment; except that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, for good cause shown, shall permit &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to inform &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; of his intention to assert the affirmative defense of impaired mental condition at any time prior to trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27133" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27133" data-sentence-id="27133" class="ldml-sentence"&gt;....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27138" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27138" data-sentence-id="27138" class="ldml-sentence"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt; When &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; indicates his intention to assert the defense of impaired mental condition, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall order an examination of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27138"&gt;&lt;span class="ldml-cite"&gt;section 16-8-106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27138" data-sentence-id="27321" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; shall order both &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to exchange the names, addresses, reports, and statements of persons, other than medical experts subject to the provisions of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27321"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, whom &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; intend to call as witnesses with regard to the affirmative defense of impaired mental condition.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27641" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27641" data-sentence-id="27649" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 16-8-108, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1986 &amp; 1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provides:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27709" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27709" data-sentence-id="27709" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; If &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; wishes to be examined by a psychiatrist, psychologist, or other expert of his own choice in connection with any proceeding under &lt;span class="ldml-entity"&gt;this article&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, upon timely motion, shall order that the examiner chosen by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; be given reasonable opportunity to conduct the examination.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28018" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28018" data-sentence-id="28018" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; A copy of any report of examination of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; made at the instance of the defense shall be furnished to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; a reasonable time in advance of trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28188" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28188" data-sentence-id="28196" class="ldml-sentence"&gt;These provisions demonstrate that &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; contemplates psychiatric or psychological examinations conducted by defense experts as well as requiring &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;-ordered examination.&lt;/span&gt; &lt;span data-paragraph-id="28188" data-sentence-id="28385" class="ldml-sentence"&gt;It may be, therefore, that &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28385"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; waiver&lt;/span&gt; of confidentiality was intended to apply to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;-ordered examinations conducted pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28385"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.5&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; only.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28567" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28567" data-sentence-id="28575" class="ldml-sentence"&gt;In interpreting &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; also seek an interpretation that would avoid constitutional defects.&lt;/span&gt; &lt;span data-paragraph-id="28567" data-sentence-id="28672" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:exoticcoins,incvbeacom,699p2d930,940–42colo1985enbanc" data-prop-ids="sentence_28575"&gt;&lt;span class="ldml-refname"&gt;Exotic Coins, Inc. v. Beacom&lt;/span&gt;, &lt;span class="ldml-cite"&gt;699 P.2d 930, 947-48&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;appeal dismissed&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:474us892,106sct214,88led2d2141985" data-prop-ids="sentence_28575"&gt;&lt;span class="ldml-cite"&gt;474 U.S. 892&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 214&lt;/span&gt;, &lt;span class="ldml-cite"&gt;88 L.Ed.2d 214&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28567" data-sentence-id="28806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;An interpretation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28806"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; that would require &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to waive his right to confidentiality regarding conversations with a defense expert would violate the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28806"&gt;&lt;span class="ldml-cite"&gt;sixth amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28567" data-sentence-id="28998" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;2&lt;/sup&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895489548" data-vids="895489548" class="ldml-reference" data-prop-ids="sentence_28998"&gt;&lt;span class="ldml-refname"&gt;Hutchinson v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;742 P.2d 875, 882&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891946107" data-vids="891946107" class="ldml-reference" data-prop-ids="sentence_28998"&gt;&lt;span class="ldml-refname"&gt;Miller v. District Court of City and County of Denver&lt;/span&gt;, &lt;span class="ldml-cite"&gt;737 P.2d 834, 838-39&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28567" data-sentence-id="29146" class="ldml-sentence"&gt;I would hold, therefore, that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29146"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was only intended to waive the privilege of confidentiality arising from communication during &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;-ordered examination made for the purpose of a trial or hearing pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29146"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.5&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29395" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29395" data-sentence-id="29403" class="ldml-sentence"&gt;The issue that remains is whether the ambiguity of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29403"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; nonetheless violated &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29403"&gt;&lt;span class="ldml-cite"&gt;sixth amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29395" data-sentence-id="29568" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29568"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is ambiguous, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; may have reasonably believed that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was forced to choose between asserting an impaired mental condition defense and maintaining the confidentiality
&lt;span class="ldml-pagenumber" data-val="712" data-rep="P.2d" data-id="pagenumber_29773" data-vol="791" data-page_type="labeled_number"&gt;&lt;/span&gt;
of any communications &lt;span class="ldml-entity"&gt;he&lt;/span&gt; might have with a psychologist.&lt;/span&gt; &lt;span data-paragraph-id="29395" data-sentence-id="29831" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29831"&gt;&lt;span class="ldml-cite"&gt;Section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; thereby effectively chilled his sixth &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29940" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29940" data-sentence-id="29948" class="ldml-sentence"&gt;Accordingly, I would vacate &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conviction and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for retrial, with directions to allow &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; a reasonable opportunity to assert the defense of impaired mental condition.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30152" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="30152" data-sentence-id="30160" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;QUINN&lt;/span&gt;&lt;/span&gt;, C.J., and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;KIRSHBAUM&lt;/span&gt;&lt;/span&gt;, J., join in this dissent&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30214" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30214" data-sentence-id="30214" class="ldml-sentence"&gt;1 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 18-4-302, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30251" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30251" data-sentence-id="30251" class="ldml-sentence"&gt;2 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 18-3-302, 8B C.R.S. &lt;span class="ldml-parenthetical"&gt;(1986 &amp; 1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30302" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="30302" data-sentence-id="30303" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_983"&gt;&lt;span class="ldml-cite"&gt;Section 18-4-410, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30338" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="30338" data-sentence-id="30339" class="ldml-sentence"&gt;The appeal was initially filed in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30338" data-sentence-id="30395" class="ldml-sentence"&gt;Since &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; presents a constitutional challenge to the validity of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30395"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and the impaired mental condition &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30395"&gt;&lt;span class="ldml-cite"&gt;sections 16-8-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -122, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1986 &amp; 1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the appeal was transferred to &lt;span class="ldml-entity"&gt;the supreme court&lt;/span&gt; according to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30395"&gt;&lt;span class="ldml-cite"&gt;sections 13-4-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and -110, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;6A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30703" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="30703" data-sentence-id="30704" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 16-8-103.5&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, requires &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to indicate his or her intention to assert the defense of impaired mental condition at the time of arraignment, with the exception that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; may inform &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; of that intention at any time prior to trial for good cause shown.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31003" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="31003" data-sentence-id="31004" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31004"&gt;&lt;span class="ldml-cite"&gt;Section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was amended to change the minimum sentence in the aggravated range to the midpoint of the presumptive range.&lt;/span&gt; &lt;span data-paragraph-id="31003" data-sentence-id="31131" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31004"&gt;&lt;span class="ldml-cite"&gt;Section 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1989 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31003" data-sentence-id="31181" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The amendment&lt;/span&gt; applies to acts committed on or after &lt;span class="ldml-entity"&gt;July 1, 1988&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31003" data-sentence-id="31247" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31247"&gt;&lt;span class="ldml-cite"&gt;Ch. 116, sec. 7, 1988 Colo.Sess.Laws&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 679, 682.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31294" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr7" class="ldml-notemarker" id="note-fr7"&gt;7&lt;/a&gt; &lt;span data-paragraph-id="31294" data-sentence-id="31295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31295"&gt;&lt;span class="ldml-cite"&gt;Section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31323" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31323" data-sentence-id="31323" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; who places his mental condition at issue by ... asserting the defense of impaired mental condition pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31323"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ... waives any claim of confidentiality or privilege as to communications made by him to a physician or psychologist in the course of an examination or treatment for such mental condition for the purpose of any trial or hearing on the issue of such mental condition.&lt;/span&gt; &lt;span data-paragraph-id="31323" data-sentence-id="31732" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; shall order both &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to exchange the names, addresses, reports, and statements of any physician or psychologist who has examined or treated &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; for such mental condition.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31951" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr8" class="ldml-notemarker" id="note-fr8"&gt;8&lt;/a&gt; &lt;span data-paragraph-id="31951" data-sentence-id="31952" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31952"&gt;&lt;span class="ldml-cite"&gt;Section 16-8-106&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31981" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31981" data-sentence-id="31981" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; shall have a privilege against self-incrimination during the course of an examination under &lt;span class="ldml-entity"&gt;this section&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31981" data-sentence-id="32101" class="ldml-sentence"&gt;The fact of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s noncooperation with psychiatrists and other personnel conducting the examination may be admissible in &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s trial on the issues of insanity, competency, or impaired mental condition.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="32321" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="32321" data-sentence-id="32321" class="ldml-sentence"&gt;1 The standing doctrine is &lt;span class="ldml-quotation quote"&gt;"designed to ensure that the judicial power is exercised only in the context of &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; or controversy."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32321" data-sentence-id="32452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893449416" data-vids="893449416" class="ldml-reference" data-prop-ids="sentence_32321"&gt;&lt;span class="ldml-refname"&gt;Colorado General Assembly&lt;/span&gt;, &lt;span class="ldml-cite"&gt;700 P.2d at 515-16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32321" data-sentence-id="32499" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt;, therefore, would lack standing to challenge &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32499"&gt;&lt;span class="ldml-cite"&gt;section 16-8-103.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; if the impaired mental condition defense were irrelevant to that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s defense.&lt;/span&gt; &lt;span data-paragraph-id="32321" data-sentence-id="32661" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;pre-trial motions&lt;/span&gt; filed by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; demonstrate the seriousness of his interest in investigating this defense.&lt;/span&gt; &lt;span data-paragraph-id="32321" data-sentence-id="32794" class="ldml-sentence"&gt;Prior to arraignment &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; filed a motion challenging the constitutionality of the impaired mental condition &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32321" data-sentence-id="32920" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; upheld &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; requested &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to rule whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s communication with a psychiatrist prior to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s entry of a plea would be privileged.&lt;/span&gt; &lt;span data-paragraph-id="32321" data-sentence-id="33135" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; refused to issue such a ruling.&lt;/span&gt; &lt;span data-paragraph-id="32321" data-sentence-id="33186" class="ldml-sentence"&gt;These &lt;span class="ldml-entity"&gt;pretrial motions&lt;/span&gt; also add plausibility to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s claim that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;'s ambiguity chilled the exercise of his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33186"&gt;&lt;span class="ldml-cite"&gt;sixth amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="33370" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33370" data-sentence-id="33370" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2 U.S. Const. amend. VI&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;